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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 GREGORY AND MICHEEL SANTAGELO                          CIVIL ACTION:
               (Plaintiffs)                              2:18-CV-11263-MLCF-JVM

 VS.                                                    JUDGE: MARTIN L.C. FELDMAN

 OMNI HOTELS MANAGEMENT CORP.                           MAG: JANIS VAN MEERVELD
        (Defendant/Third Party Plaintiff)

 VS.

 ALAIYA BENJAMIN, JANE DOE, JOHN DOE,
 ASSA ABLOY HOSPITALITY, INC.
        (Third Party Defendants)


            THIRD-PARTY DEFENDANT ASSA ABLOY HOSPITALITY, INC.’S
            ORIGINAL ANSWER TO AMENDED THIRD-PARTY COMPLAINT
                 OF OMNI HOTELS MANAGEMENT CORPORATION

        COMES NOW Third-Party Defendant, ASSA ABLOY Hospitality, Inc. (“Third-Party

Defendant”) and files this answer to the Amended Third-Party Complaint (Doc. 37) filed by Third-

Party Plaintiff , Omni Hotels Management Corporation (“Third-Party Plaintiff” or “Omni Hotels”).

                                A.     Admissions and Denials

                                                 1.

        Paragraph 1 of the Amended Third-Party Complaint is a characterization of what is pled

for the Petition for Damages (Doc. 1-1) of the Plaintiffs, Gregory and Michelle Santangelo, which

requires no response by Third-Party Defendant. To the extent a response is deemed required,

Third-Party Defendant denies this paragraph and respectfully refers the Court to the Petition for

Damages of the Plaintiffs, Gregory and Michelle Santangelo, for a full and accurate recital of its

contents.




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                                                  2.

       Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 2 of the Amended Third-Party Complaint.

                                                  3.

       Paragraph 3 of the Amended Third-Party Complaint is a characterization of what is pled

for the Petition for Damages of the Plaintiffs, Gregory and Michelle Santangelo, which requires

no response by Third-Party Defendant. To the extent a response is deemed required, Third-Party

Defendant denies this paragraph and respectfully refers the Court to the Petition for Damages of

the Plaintiffs, Gregory and Michelle Santangelo for a full and accurate recital of its contents.

                                                  4.

       Paragraph 4 of the Amended Third-Party Complaint is a characterization of what is pled

for the Petition for Damages of the Plaintiffs, Gregory and Michelle Santangelo, which requires

no response by Third-Party Defendant. To the extent a response is deemed required, Third-Party

Defendant denies this paragraph and respectfully refers the Court to the Petition for Damages of

the Plaintiffs, Gregory and Michelle Santangelo for a full and accurate recital of its contents.

                                                  5.

       Paragraph 5 of the Amended Third-Party Complaint is a characterization of what is pled

for the Petition for Damages of the Plaintiffs, Gregory and Michelle Santangelo, which requires

no response by Third-Party Defendant. To the extent a response is deemed required, Third-Party

Defendant denies this paragraph and respectfully refers the Court to the Petition for Damages of

the Plaintiffs, Gregory and Michelle Santangelo, for a full and accurate recital of its contents.




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                                                 6.

          Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 6 of the Amended Third-Party Complaint.

                                                 7.

          Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 7 of the Amended Third-Party Complaint.

                                                 8.

          Third-Party Defendant denies the allegations of paragraph 8 of the Amended Third-Party

Complaint.

                                                 9.

          Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 9 of the Amended Third-Party Complaint.

                                                 10.

          Paragraph 10 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 10 of the Amended Third-Party Complaint is

denied.

                                                 11.

          Paragraph 11 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 11 of the Amended Third-Party Complaint is

denied.

                                                 12.

          Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 12 of the Amended Third-Party Complaint.



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                                                 13.

          Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 13 of the Amended Third-Party Complaint.

                                                 14.

          Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 14 of the Amended Third-Party Complaint.

                                                 15.

          Third-Party Defendant admits the allegations of paragraph 15 of the Amended Third-Party

Complaint.

                                                 16.

          Paragraph 16 restates and reincorporates paragraphs 1 through 15 of the Amended Third-

Party Complaint. Third-Party Defendant renews its answers, responses and denials for paragraphs

1 through 15 of the Amended Third-Party Complaint as if fully set forth herein.

                                                 17.

          Third-Party Defendant denies the allegations of paragraph 17 of the Amended Third-Party

Complaint.

                                                 18.

          Paragraph 18 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 18 of the Amended Third-Party Complaint is

denied.




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                                                  19.

          Paragraph 19 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 19 of the Amended Third-Party Complaint is

denied.

                                                  20.

          Paragraph 20 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 20 of the Amended Third-Party Complaint is

denied.

                                                  21.

          Paragraph 21 restates and reincorporates paragraphs 1 through 20 of the Amended Third-

Party Complaint. Third-Party Defendant renews its answers, responses and denials for paragraphs

1 through 20 of the Amended Third-Party Complaint as if fully set forth herein.

                                                  22.

          Paragraph 22 of the Amended Third-Party Complaint is a characterization of what is pled

for the Petition for Damages of the Plaintiffs, Gregory and Michelle Santangelo, which requires

no response by Third-Party Defendant. To the extent a response is deemed required, Third-Party

Defendant denies this paragraph and respectfully refers the Court to the Petition for Damages of

the Plaintiffs, Gregory and Michelle Santangelo for a full and accurate recital of its contents.

                                                  23.

          Third-Party Defendant denies the allegations of paragraph 23 of the Amended Third-Party

Complaint.




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                                                 24.

          Paragraph 24 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 24 of the Amended Third-Party Complaint is

denied.

                                                 25.

          Paragraph 25 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 25 of the Amended Third-Party Complaint is

denied.

                                                 26.

          Paragraph 26 restates and reincorporates paragraphs 1 through 25 of the Amended Third-

Party Complaint. Third-Party Defendant renews its answers, responses and denials for paragraphs

1 through 25 of the Amended Third-Party Complaint as if fully set forth herein.

                                                 27.

          Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 27 of the Amended Third-Party Complaint.

                                                 28.

          Third-Party Defendant denies the allegations of paragraph 28 of the Amended Third-Party

Complaint.

                                                 29.

          Third-Party Defendant denies the allegations of paragraph 29 of the Amended Third-Party

Complaint.




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                                                 30.

          Paragraph 30 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 30 of the Amended Third-Party Complaint is

denied.

                                                 31.

          Third-Party Defendant denies the allegations of paragraph 31 of the Amended Third-Party

Complaint.

                                                 32.

          Paragraph 32 restates and reincorporates paragraphs 1 through 31 of the Amended Third-

Party Complaint. Third-Party Defendant renews its answers, responses and denials for paragraphs

1 through 31 of the Amended Third-Party Complaint as if fully set forth herein.

                                                 33.

          Third-Party Defendant denies the allegations of paragraph 33 of the Amended Third-Party

Complaint.

                                                 34.

          Third-Party Defendant denies the allegations of paragraph 34 of the Amended Third-Party

Complaint.

                                                 35.

          Third-Party Defendant denies the allegations of paragraph 35 of the Amended Third-Party

Complaint.

                                                 36.

          Third-Party Defendant denies the allegations of paragraph 36 of the Amended Third-Party

Complaint.



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                                                37.

       Third-Party Defendant denies the allegations of paragraph 37 of the Amended Third-Party

Complaint.

                                                38.

       Third-Party Defendant denies the allegations of paragraph 38 of the Amended Third-Party

Complaint.

                                                39.

       Paragraph 39 restates and reincorporates paragraphs 1 through 38 of the Amended Third-

Party Complaint. Third-Party Defendant renews its answers, responses and denials for paragraphs

1 through 38 of the Amended Third-Party Complaint as if fully set forth herein.

                                                40.

       Third-Party Defendant denies the allegations of paragraph 40 of the Amended Third-Party

Complaint.

                                                41.

       Third-Party Defendant denies the allegations of paragraph 41 of the Amended Third-Party

Complaint.

                                                42.

       Third-Party Defendant denies the allegations of paragraph 42 of the Amended Third-Party

Complaint.

                                                43.

       Third-Party Defendant denies the allegations of paragraph 43 of the Amended Third-Party

Complaint.




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                                                44.

       Paragraph 44 restates and reincorporates paragraphs 1 through 43 of the Amended Third-

Party Complaint. Third-Party Defendant renews its answers, responses and denials for paragraphs

1 through 43 of the Amended Third-Party Complaint as if fully set forth herein.

                                                45.

       Paragraph 45 of the Amended Third-Party Complaint requires no admission or denial by

Third-Party Defendant.

                                                46.

       Paragraph 46 of the Amended Third-Party Complaint requires no admission or denial by

Third-Party Defendant.

                                                47.

       Paragraph 47 restates and reincorporates paragraphs 1 through 46 of the Amended Third-

Party Complaint. Third-Party Defendant renews its answers, responses and denials for paragraphs

1 through 46 of the Amended Third-Party Complaint as if fully set forth herein.

                                                48.

       Third-Party Defendant denies the allegations of paragraph 48 of the Amended Third-Party

Complaint.

                                                49.

       Third-Party Defendant denies the allegations of paragraph 49 of the Amended Third-Party

Complaint.

                                                50.

       Third-Party Defendant denies the allegations of paragraph 50 of the Amended Third-Party

Complaint.



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                                                51.

       Paragraph 51 restates and reincorporates paragraphs 1 through 50 of the Amended Third-

Party Complaint. Third-Party Defendant renews its answers, responses and denials for paragraphs

1 through 50 of the Amended Third-Party Complaint as if fully set forth herein.

                                                52.

       Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 52 of the Amended Third-Party Complaint.

                                                53.

       Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 53 of the Amended Third-Party Complaint.

                                                54.

       Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 54 of the Amended Third-Party Complaint.

                                                55.

       Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 55 of the Amended Third-Party Complaint.

                                                56.

       Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 56 of the Amended Third-Party Complaint.

                                                57.

       Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 57 of the Amended Third-Party Complaint.




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                                                  58.

       Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 58 of the Amended Third-Party Complaint.

                                                  59.

       Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 59 of the Amended Third-Party Complaint.

                                                  60.

       Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 60 of the Amended Third-Party Complaint.

                                                  61.

       Paragraph 61 restates and reincorporates paragraphs 1 through 60 of the Amended Third-

Party Complaint. Third-Party Defendant renews its answers, responses and denials for paragraphs

1 through 60 of the Amended Third-Party Complaint as if fully set forth herein.

                                                  62.

       Paragraph 62 of the Amended Third-Party Complaint is a characterization of what is pled

for the Petition for Damages of the Plaintiffs, Gregory and Michelle Santangelo, which requires

no response by Third-Party Defendant. To the extent a response is deemed required, Third-Party

Defendant denies this paragraph and respectfully refers the Court to the Petition for Damages of

the Plaintiffs, Gregory and Michelle Santangelo for a full and accurate recital of its contents.

                                                  63.

       Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 63 of the Amended Third-Party Complaint.




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                                                    64.

          Paragraph 64 restates and reincorporates paragraphs 1 through 63 of the Amended Third-

Party Complaint. Third-Party Defendant renews its answers, responses and denials for paragraphs

1 through 63 of the Amended Third-Party Complaint as if fully set forth herein.

                                                    65.

          Paragraph 65 consists of a legal conclusion(s) and statement of alleged legislative intent to

which no response is required. To the extent a response is deemed required, paragraph 65 of the

Amended Third-Party Complaint is denied.

                                                    66.

          Paragraph 66 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 66 of the Amended Third-Party Complaint is

denied.

                                                    67.

          Paragraph 67 consists of a legal conclusion(s) and statement of alleged legislative intent to

which no response is required. To the extent a response is deemed required, paragraph 67 of the

Amended Third-Party Complaint is denied.

                                                    68.

          Third-Party Defendant for want of knowledge and information sufficient to form a belief

denies the allegations of paragraph 68 of the Amended Third-Party Complaint.

                                                    69.

          Paragraph 69 restates and reincorporates paragraphs 1 through 68 of the Amended Third-

Party Complaint. Third-Party Defendant renews its answers, response and denials for paragraphs

1 through 68 of the Amended Third-Party Complaint as if fully set forth herein.



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                                                 70.

          Paragraph 70 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 70 of the Amended Third-Party Complaint is

denied.

                                                 71.

          Paragraph 71 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 71 of the Amended Third-Party Complaint is

denied.

                                                 72.

          Paragraph 72 of the Amended Third-Party Complaint requires no admission or denial by

Third-Party Defendant.

                                                 73.

          Paragraph 73 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 73 of the Amended Third-Party Complaint is

denied.

                                                 74.

          Paragraph 74 of the Amended Third-Party Complaint requires no admission or denial by

Third-Party Defendant.

                                                 75.

          Paragraph 75 consists of a legal conclusion(s) to which no response is required. To the

extent a response is deemed required, paragraph 75 of the Amended Third-Party Complaint is

denied.




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                                                  76.

       Third-Party Defendant denies the allegations of paragraph 76 of the Amended Third-Party

Complaint.

                                    B.      Affirmative Defenses

                                                  77.

       A third-party, for whom a Third-Party Defendant is not responsible, caused Third-Party

Plaintiff’s alleged damages and injuries.

                                                  78.

       Amended Third-Party Complaint fails to state a claim against Third-Party Defendant for

which relief may be granted.

                                                  79.

       Third-Party Plaintiff does not have a right of action against Third-Party Defendant and

Third-Party Plaintiff lacks standing to assert the claims.

                                                  80.

       The damages alleged in the Amended Third-Party Complaint were not caused by Third-

Party Defendant.

                                                  81.

       If Third-Party Plaintiff was damaged, which is denied, then the alleged damages, if any,

were due to Third-Party Plaintiff’s own actions, failure to act, contributory negligence or fault,

comparative fault and/or neglect.




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                                                   82.

       To the extent that Third-Party Plaintiff was damaged, which is denied, Third-Party Plaintiff

failed to mitigate those damages asserted and reasonably avoid the consequences of the alleged

damages.

                                                   83.

       Third-Party Plaintiff’s claims are barred by the doctrine of equitable estoppel.

                                                   84.

       Third-Party Plaintiff’s claims are barred by the doctrine of waiver and/or abandonment.

                                                   85.

       Third-Party Plaintiff’s claims are barred by the doctrine of accord and satisfaction.

                                                   86.

       On information and belief, Third-Party Plaintiff seeks double recovery for the same

damages and therefore Third-Party Plaintiff’s claims are barred as a matter of law.

                                                   87.

       Third-Party Defendant did not owe the alleged duties to Third-Party Plaintiff nor breached

any duty owed to Third-Party Plaintiff.

                                                   88.

       Third-Party Defendant states that any damages for which Third-Party Plaintiff may be

liable were caused in whole or in part by the negligence of Third-Party Plaintiff, and therefore,

Third-Party Plaintiff’s recovery is barred in whole or in part or subject to diminution.

                                                   89.

       Third-Party Plaintiff’s claims are barred, in whole or in part, by prescription, preemption,

statute of limitations or other applicable law.



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                                                   90.

       Third-Party Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches,

waiver, justification, ratification, confirmation, novation, compromise, receipt and release, res

judicata, accord in satisfaction, recoupment, set-off and/or equitable estoppel.

                                                   91.

       Third-Party Defendant is entitled to an offset and/or credit and/or reduction of damages for

any fault attributable to any other party or person or entity not a party to these proceedings, which

caused or contributed to Third-Party Plaintiff’s alleged damages.

       WHEREFORE, for these reasons, Third-Party Defendant ASSA ABLOY Hospitality, Inc.

asks this Court to enter Judgment that Third-Party Plaintiff, Omni Hotels Management Corporation

take nothing, dismiss the Third-Party Plaintiff’s suit with prejudice, assess costs against Third-Party

Plaintiff and award Third-Party Defendant all other equitable relief for which they are entitled.

                                               Respectfully submitted,

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                                               Baton Rouge, LA 70802
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                                               225-930-4775 – Facsimile
                                               jmadisoniii@wwmlaw.com

                                               /s/ John M. Madison III
                                               John M. Madison III, La. Bar No. 26394

                                               And




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                                               214-379-0722 Telephone
                                               214-373-4714 Telecopier

                                               Attorneys for Third-Party Defendant, ASSA
                                               ABLOY Hospitality, Inc.


                                            CERTIFICATE

          I hereby certify that a copy of the above and foregoing Original Answer to Amended Third-

Party Complaint was filed electronically with the Clerk of Court through the CM//ECF System.

Notice of this filing will be sent to all counsel of record by operation of the Court’s electronic

system and/or by means of email, facsimile or U.S. Mail.

          Baton Rouge, Louisiana, this 28th of June 2019.

                                        /s/ John M. Madison III
                                          John M. Madison III




1
    Pro Hac Vice Application forthcoming.
2
    Pro Hac Vice Application forthcoming.
3
    Pro Hac Vice Application forthcoming.

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